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                  EXHIBIT A
                  (Redacted)
                                                                    Case 4:20-cv-05640-YGR                                                     Document 1487-2                                             Filed 04/25/25                                             Page 2 of 3
                                                                                                                                                   Privilege Log Entries


                                                                                                                                                                                                                                                                                                                                     Attorneys, Legal
                                                                                                                                                                                                                                                                                                                                     Staff, and          Special Master
                                                                                                                                                                                                                                                                                                                                     Employees acting at Determinations
Bates Number of Parent             Production         Production End                                                                                                                                                                      Redact or                                                       Additional Privilege       the direction of    (Priv - Yes; Priv -
Document (Folder Title)     Number Beginning Bates    Bates            Custodians        DocDate      DocTime From                To                          Cc                      Bcc Subject                  OriginalName           Withhold PrivilegeType       Privilege Description              Context                    counsel             No)
Emails Concerning Press and Communications




                                                                                                                                                                                                                                                                                                          Email containing plan for
                                                                                                                                                                                                                                                                       Email chain related to             regulatory objectives in
                                                                                                                                                                                                                                                                       information for the purpose of     Japan which was created in
                                                                                                                                                                                                                   20230517-1022                                       obtaining legal advice from        conjunction with counsel
                                                                                                                 Marni Goldberg                                                                                    Fwd: Japan                                          counsel regarding foreign          and sent to in-house
                                      PRIV-APL-       PRIV-APL-                                                                                                                           Fwd: Japan               Competition PR                                      regulatory issues in Japan,        counsel Kate Adams for     Kate Adams (Apple in-
PRIV-APL-EG_00187665          3662    EG_00187665     EG_00187685      Goldberg, Marni   2023-05-17   17:22:31                    Fred Sainz                                              Competition PR Plan      Plan.eml               withhold   AttorneyClient    including the reader rule          review and approval.       house counsel)          Yes




                                                                                                                                                                                          Re: HOT -- For           20231212-1523                                       Email chain reflecting legal                                  Weil Gotshal and
                                                                                                                                                                                          approval: Email to       Re: HOT -- For                                      advice from counsel regarding                                 Manges (outside
                                                                                                                                                              Hannah Smith                Phil, Kate with off-the- approval: Email to                                  injunction compliance                                         counsel); Alanna
                                        PRIV-APL-     PRIV-APL-                                                  Fred Sainz       Marni Goldberg                                          record points on         Phil, Kate with off-                                requirements for link format and                              Rutherford (Apple in-
PRIV-APL-EG_00189948           3940     EG_00189948   EG_00189954      Goldberg, Marni   2023-12-12   23:23:48                                                                            Epic/Google verdict      the-re.eml             Withhold   AttorneyClient    buttons.                                                      house counsel)          Yes
Documents Concerning the Digital Markets Act

                                                                                                                                                              Tim Powderly
                                                                                                                                  Fred Sainz
                                                                                                                                  Marni Goldberg                ; Nick Rossi
                                                                                                                                                                                  ;
                                                                                                                                  Hannah Smith                Jai Motwane
                                                                                                                                                      ;                                                                                                                                                                              Kyle Andeer (Apple in-
                                                                                                                                  Kyle Andeer                   ; Jeff Dobrozsi                                                                                        Email providing information for                               house counsel); Sean
                                                                                                                                  Sean Cameron                                                                                                                         the purpose of obtaining legal                                Cameron (Apple in-
                                                                                                                                                              ; Rob Harris                                         20230925-1518                                       advice from counsel regarding                                 house counsel); Rachel
                                      PRIV-APL-       PRIV-APL-                                                  Alexis Marks     Rachel Flipse           ;                               DMA letter to Tim        DMA letter to Tim                                   foreign regulatory issues in the                              Flipse (Apple in-house
PRIV-APL-EG_00188138          3727    EG_00188138     EG_00188138      Goldberg, Marni   2023-09-25   22:18:35                                                                            Cook                     Cook.eml               Withhold   AttorneyClient    European Union including DMA.                                 counsel)               Yes

                                                                                                                                                                                                                                                                       Presentation with redacted text
                                                                                                                                                                                                                                                                       reflecting legal advice from
                                                                                                                                                                                                                   2023.03                                             counsel regarding foreign                                     Document reflecting
                                      PRIV-APL-       PRIV-APL-                                                                                                                                                    Financial Ops                     AttorneyClient;   regulatory issues in the                                      legal advice from Apple
PRIV-APL-EG_00191267          4118    EG_00191267     EG_00191314      Gray, Eric        2023-03-10   21:04:06                                                                                                     (15).key               withhold   CommonInterest    European Union including DMA                                  legal                   Yes
                                                                  Case 4:20-cv-05640-YGR                           Document 1487-2                 Filed 04/25/25                                    Page 3 of 3
                                                                                                                     Privilege Log Entries


                                                                                                                                                                                                                                                                Attorneys, Legal
                                                                                                                                                                                                                                                                Staff, and          Special Master
                                                                                                                                                                                                                                                                Employees acting at Determinations
Bates Number of Parent            Production        Production End                                                                                                       Redact or                                                       Additional Privilege   the direction of    (Priv - Yes; Priv -
Document (Folder Title)    Number Beginning Bates   Bates            Custodians   DocDate      DocTime From   To          Cc         Bcc Subject     OriginalName        Withhold PrivilegeType       Privilege Description              Context                counsel             No)
Non-Attorney Employee Messages

                                                                                                                                                                                                      Email chain related to legal
                                                                                                                                                                                                      advice from counsel regarding
                                                                                                                                                     Message_EricGray_                                injunction compliance and U.S.
                                    PRIV-APL-       PRIV-APL-                                                                                        2023-10-09_20-15-                                Link Entitlement program                                  Ling Lew (Apple in-
PRIV-APL-EG_00191600         4130   EG_00191600     EG_00191607      Gray, Eric   2023-10-09   20:15:43                                              43.pdf            Withhold     AttorneyClient    eligibility                                               house counsel)        Yes


                                                                                                                                                     Direct message
                                                                                                                                                     Aaron Deardon,                                   Email chain reflecting legal
                                                                                                                                                     Eric Gray and 3                                  advice from counsel regarding
                                    PRIV-APL-       PRIV-APL-                                                                                        others - 2024-01-                                injunction compliance analysis                            Ling Lew (Apple in-
PRIV-APL-EG_00191820         4162   EG_00191820     EG_00191821      Gray, Eric   2024-01-23   20:52:45                                              23 (UTC).pdf        Withhold   AttorneyClient    of commission rate                                        house counsel)        Yes
                                                                                                                                                                                                      Email chain providing legal
                                                                                                                                                                                                      advice from counsel regarding
                                                                                                                                                                                                      injunction compliance
                                                                                                                                                                                                      requirements for user design and
                                                                                                                                                     Message_EricGray_                                interface prepared in
                                    PRIV-APL-       PRIV-APL-                                                                                        2024-01-16_00-26-              AttorneyClient;   anticipation or furtherance of                            Ling Lew (Apple in-
PRIV-APL-EG_00192077         4179   EG_00192077     EG_00192088      Gray, Eric   2024-01-16   00:26:09                                              09.pdf            Withhold     WorkProduct       litigation                                                house counsel)        Yes

                                                                                                                                                                                                      Email chain providing legal
                                                                                                                                                                                                      advice from counsel regarding
                                                                                                                                                     Message_EricGray_                                injunction compliance and U.S.
                                    PRIV-APL-       PRIV-APL-                                                                                        2024-01-16_00-26-              AttorneyClient;   Link Entitlement program                                  Ling Lew (Apple in-
PRIV-APL-EG_00192097         4182   EG_00192097     EG_00192108      Gray, Eric   2024-01-16   00:26:09                                              09.pdf            Withhold     WorkProduct       eligibility                                               house counsel)        Yes
